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                              United States District Court
                                        for the
                              Southern District of Florida

  United States of America, Plaintiff,    )
                                          )
  v.                                      ) Criminal Case No. 17-20648-CR-Scola
                                          )
  Gal Vallerius, Defendant.               )

       Order Adopting Magistrate Judge’s Report And Recommendation
        On March 20, the court referred the Defendant’s motion to suppress
  (ECF No. 23) to United States Magistrate Judge Edwin G. Torres for a report
  and recommendation. (See ECF No. 24.) On May 1, 2018, Judge Torres issued
  a report, recommending that the motion be denied. (R. & R., ECF No. 37.) The
  Defendant has not filed objections to the report, and the time to do so has
  passed.
        The Court has considered Judge Torres’s report, the record, and the
  relevant legal authorities. The Court finds Judge Torres’s report and
  recommendation cogent and compelling. The Court affirms and adopts Judge
  Torres’s report and recommendation (ECF No. 37), and denies the motion to
  suppress (ECF No. 23).
        Done and ordered, at Miami, Florida, on May 21, 2018.

                                               _______________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
